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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN

A.H., by her Legal Guardian Patanne Coffey
28 Cordelia Crescent
Madison, WI 53704.

Z.H., a minor, by her Parent and Legal Guardian Anna Hauser
645 E. Johnson St. # 202
Madison, WI 53704,

       PLAINTIFFS                                             Case No. 22-cv-134

v.

Madison Metropolitan School District
545 W. Dayton St., Room 110
Madison, WI 53703

Heidi Tepp
909 Devonshire Ct.
Stoughton, WI 53589

Joe Anderson
1200 Snowdon Drive
Knoxville, TN 37912

Joseph A. Ballas
7130 Lindfield Road
Madison, WI 53719

David G. Kapp
6903 Milwaukee St.,
Madison, WI 53718

Luke Frame
4552 N. Old Kennedy Road
Milton, WI 35563

Mark Brown
545 W. Dayton St.
Madison, WI 53703

Mathew Bell
5201 Nanberry Dr.
Fitchburg, WI 57311

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Jeff Knutsen
2129 Keyes Ave.
Madison, WI 53711

Haley A. Gausmann
611 E. Red Oak Trail
McFarland, WI 53558

John Hagen
2332 Lynwood Drive
City of Sun Prairie, WI 53950

Jeff Fischer
318 N. Kerch St.
Brooklyn, WI 53251,

       DEFENDANTS


                                         COMPLAINT


   Plaintiffs allege the following Complaint:

                                  I.      NATURE OF ACTION

       1.      Plaintiffs bring this civil action under 42 U.S.C. § 1983, the Fourth and Fourteenth

Amendments to the United States Constitution, and Wis. Stat. § 999.50(2)(am)1. in order to obtain

damages, including punitive damages, any appropriate declaratory or injunctive relief, together

with their reasonable attorney’s fees and costs, for the injuries arising from the Defendants’

surreptitious video surveillance of their unclothed bodies between September 6, 2019 and July,

2020, in a private changing area in Room 127 located inside of Madison East High School.

       2.      As shown below, this case involves the placement of hidden cameras by employees

of Defendant Madison Metropolitan School District which were placed in an area where the

plaintiffs and others were in the normal course of the school day, unclothed.




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                               II.    JURISDICTION AND VENUE

        3.      The United States District Court for the Western District of Wisconsin has

jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 (federal question jurisdiction) and

1343(a)(3) (42 U.S.C. § 1983 jurisdiction), and over the state claim pursuant to § 1367 (pendant

state claim jurisdiction).

        4.      The United States District Court for the Western District of Wisconsin has

jurisdiction over this action because the Plaintiff’s claims arose within the geographic boundaries

of the Western District of Wisconsin within the meaning of § 1391(b)(2).

                                          III.    PARTIES

        5.      At all times material hereto, Plaintiff A.H. was a minor resident of the State of

Wisconsin residing at 28 Cordelia Crescent, Madison, WI 53704.

        6.      At all times material hereto, Plaintiff, Z.H. was a minor resident of the State of

Wisconsin residing at 645 E. Johnson St. # 202, Madison, WI 53704.

        7.      Plaintiff Patanne Coffey is an adult resident of the State of Wisconsin who resides

at 28 Cordelia Crescent, Madison, WI 53704. Pattane Coffey is the parent and legal guardian of

A.H. and files this action on behalf of A.H. in this Court. A.H. was a minor and a high school

student attending East High School in the Madison Metropolitan School District at the time of the

occurrence hereinafter described.

        8.      Plaintiff Anna Hauser is an adult resident of the State of Wisconsin who resides at

645 E. Johnson St. # 202, Madison, WI 53704. Anna Hauser is the parent and legal guardian of

Z.H., and files this action on behalf of her minor child Z.H. in this Court. Z.H. was a high school

student attending East High School in the Madison Metropolitan School District at the time of the

occurrence hereinafter described.



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       9.      Defendant Madison Metropolitan School District (“MMSD”) is a Wisconsin unit

of local government located at 545 W. Dayton Street, Madison, WI 53703-1967, with the capacity

to sue and be sued in this Court, and receives federal funding as a public education institution.

       10.     Defendant Heidi Tepp (“Tepp”) is an adult resident of Wisconsin, who at all times

material hereto was employed by MMSD as the Director of Labor Relations.

       11.     Tepp was responsible for approving the placement and use of the hidden cameras

that are the subject of this complaint, inside of hollowed-out smoke detectors in Rooms 127 and

B32 H of Madison East High School, in an attempt to catch a third-shift custodian sleeping on the

job.

       12.     Defendant Joe Anderson (“Anderson”) is an adult resident of the State of

Tennessee, who at all times material hereto was an adult resident of the State of Wisconsin,

employed by MMSD as an Electrical Engineer.

       13.     Anderson conceived of the idea to place the hidden cameras in certain locations

around Madison East High School in an attempt to catch a third-shift custodian sleeping on the

job, and directed one of East High School’s electricians, Luke Frame, to install the hidden cameras

in Rooms 127 and B32 H.

       14.     Anderson was also one of only three individuals who could access the live-stream

of the covert video recordings captured by the secret cameras in Rooms 127 and B32 H.

       15.     Defendant David Kapp (“Kapp”) is an adult resident of the State of Wisconsin, who

at all times material hereto was employed by MMSD as the Building Services Assistant

Supervisor.




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       16.     Kapp sought permission from MMSD “legal” and Tepp, to install the hidden

cameras in East high School, and directed an MMSD electrician and Forward Electric to install

the cameras at Madison East High School in Rooms 127 and B32 H.

       17.     Kapp admitted to viewing the video footage captured by the hidden cameras in

Rooms 127 and B32 H and was one of the individuals who had access to the footage.

       18.     Defendant Joseph Balles (“Balles”) is an adult resident of the State of Wisconsin

who at all times material hereto was employed by MMSD as a Security Director at East High

School.

       19.     Balles was one of the individuals who had access to the video footage captured by

the cameras in Rooms 127 and B32 H.

       20.     Defendant Luke Frame (“Frame”) is an adult resident of the State of Wisconsin

who at all times material hereto was employed by MMSD as an electrician at Madison East High

School.

       21.     Frame was responsible for installing the hidden cameras at Madison East High

School in Rooms 127 and B32 H.

       22.     Defendant Mark Brown (“Brown”) is an adult resident of the State of Wisconsin

who at all times material to this Complaint was employed by MMSD as the Head of Security.

       23.     Brown was responsible for coordinating the installation of the hidden cameras at

Madison East High School in Rooms 127 and B32 H.

       24.     Defendant Mathew Bell (“Bell”) is an adult resident of the State of Wisconsin who

at all times material hereto was employed by MMSD as General Counsel.

       25.     Bell was responsible for approving the installation of the hidden cameras at

Madison East High School in Rooms 127 and B32 H.



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       26.     Defendant Jeff Knutsen (“Knutsen”) is an adult resident of the State of Wisconsin

who at all times material hereto was employed by MMSD.

       27.     Knutsen was one of several individuals responsible for approving the installation

of the hidden cameras at Madison East High School in Rooms 127 and B32 H.

       28.     Upon information and belief, Defendant Haley A. Gausmann (“Gausmann”) is an

adult resident of the State of Wisconsin who at all times material hereto was employed by MMSD.

       29.     Gausmann was one of several individuals responsible for approving the installation

of the hidden cameras at Madison East High School in Rooms 127 and B32 H.

       30.     Defendant John Hagen (“Hagen”) is an adult resident of the State of Wisconsin who

at all times material hereto was employed by MMSD as a Custodial Supervisor.

       31.     Hagen was one of several individuals responsible for coordinating the installation

of the hidden cameras at Madison East High School in Rooms 127 and B32 H.

       32.     Defendant Jeff Fischer (“Fischer”) is an adult resident of the State of Wisconsin

who at all times material hereto was employed by MMSD as a Custodial Supervisor.

       33.     Fischer was one of several individuals responsible for coordinating the installation

of the hidden cameras at Madison East High School in Rooms 127 and B32 H.

       34.     At all times material hereto, each Defendant described in paragraphs 8 through 31

was acting within the scope of his or her employment with MMSD and acting under color of state

law. Each such defendant is sued in their individual capacity.

             IV.   ALLEGATIONS OF FACT AS TO ALL CAUSES OF ACTION

       35.     Paragraphs 1 through 34 are re-alleged and incorporated by reference therein.

       36.     MMSD has maintained a pattern and practice of installing and using hidden

cameras, housed in inconspicuous devices, to surreptitiously record its students and employees.



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          37.   Upon information and belief, secret surveillance cameras have been used at

Madison Schools over the course of the past ten years, apparently in violation of express MMSD

policy.

          38.   MMSD’s pattern and practice involved approving the placement of hidden cameras

in places where students maintained a reasonable expectation of privacy in their unclothed bodies.

          39.   The surreptitious surveillance giving rise to this Complaint, provides one such

example of MMSD’s pattern and practice.

          40.   On or about Saturday August 24, 2019, Anderson arrived at Madison East High

School in the early morning hours to complete an assignment.

          41.   Anderson observed what he thought was a third-shift custodian sleeping in the

backseat of his vehicle during his 10:00 p.m. to 6:00 a.m. shift.

          42.   Anderson subsequently told Kapp and Balles of his suspicion.

          43.   Between September 3 and September 6, 2019, Anderson, Kapp, and Balles, sought

approval from various MMSD officials, including Tepp and MMSD Legal, to place hidden

cameras in locations around East High School to catch the third-shift custodian sleeping on the

job.

          44.   Between September 3 and September 6, 2019, Anderson, Kapp, and Balles

collaborated with various employees of MMSD, including Defendants Hagen, Fischer and Brown

in deciding where to place the hidden cameras.

          45.   Tepp, Knutsen, Gausmann, and MMSD General Counsel Bell, gave Anderson,

Kapp, and Balles approval to install the hidden cameras in hollowed out smoke detectors in at least

two locations within East High School: (1) inside a coach’s office (a room known as B32 H) in a




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boy’s locker room; and, (2) inside Room 127, a room used for working with students with

disabilities.

          46.   Room 127 of East High School contained a changing cot and was used by MMSD

employees to work with students with disabilities as a bathroom and changing area. The use for

which Room 127 was put to was something which all of the Defendants knew or which they

recklessly disregarded.

          47.   Plaintiffs A.H., and Z.H. used Room 127 for changing clothes and undergarments

during the school day, and as a bathroom. At times during these processes, the Plaintiffs would

be unclothed, having their undergarments changed, and having feces and urine cleaned off of their

bodies.

          48.   Based on its express policies and the actions of MMSD and its employees, MMSD

and its employees led the Plaintiffs to believe that Room 127 was a private place where the

Plaintiffs could change and not be observed or recorded. Room 127 was a locked room, only

accessible by use of a key. The window on the door of Room 127 was frosted and could not be

seen through. Plaintiffs also had a reasonable expectation that they would not be observed, filmed,

or recorded in Room 127, and that there would be no hidden cameras present in Room 127.

          49.   Between September 3 and September 6, 2019, Anderson, Kapp, and Balles

collaborated with several MMSD employees including Frame, Gausmann, Knutson, and one or

more employees of a private contractor, Forward Electric, to place the hidden cameras in Rooms

127 and B32 H.

          50.   On September 6, 2019, Frame installed the hidden cameras in hollowed out smoke

detectors in Rooms 127 and B32 H.




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         51.   After Frame installed the cameras in the smoke detectors, employees from Forward

Electric came to Madison East High School to “hardwire” the cameras. Frame then gave Forward

Electric a laptop to aim the cameras at the desired targets. Forward Electric aimed the hidden

camera in Room 127 at a cot in such a way as to capture video recordings of students with

disabilities, including the Plaintiffs A.H., Z.H., in states of undress while on or near the cot.

         52.   On September 6, 2019, MMSD employee Alex Blohowiak set up an IP address so

that the images captured by the cameras could be viewed live and remotely by anyone who knew

or determined the appropriate IP address and knew or could determine what the password was.

         53.   The hidden cameras were also connected to the MMSD computer system.

         54.   The hidden cameras were always recording.

         55.   On September 6, 2019, Anderson gave Balles and Kapp the IP address and

password to access the cameras’ live-feed and recorded images.

         56.   Anderson tasked Kapp with viewing the recorded video footage captured by the

cameras.

         57.   Kapp viewed the video footage captured by the secret cameras in Room 127 and

B32 H.

         58.   Between at least September 6, 2019, and September 30, 2019, Plaintiffs A.H. and

Z.H. used Room 127 and would have been captured by the secret camera in Room 127 in various

states of undress.

         59.   During this time, Plaintiffs A.H. and Z.H. were minors.

         60.   It is unknown how long the cameras in Room 127 and B32 H were recording.

         61.   Even after MMSD stopped investigating the allegedly sleeping employee in fall of

2019, it left the secret cameras in place.



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       62.     Frame told Madison Police that he “took the cameras out of service” sometime in

2020, but left them in place and wired so that they still produced a live feed even though they were

no longer recording. Frame told police that to view the live feed one would have to know the

correct IP address and password.

       63.     Upon information and belief, between September 2019, and July of 2020, none of

the Defendants revealed the existence of the hidden cameras or the fact of the filming to Madison

East High School parents or teachers.

       64.     It is unknown whether then East High School Principal Mike Hernandez, who took

a job in the District’s central administration offices in the Fall of 2019, was ever made aware of

the secret cameras.

       65.     Upon information and belief, none of the involved Defendants disclosed the

existence of the cameras to Principal Brendan Kearney, who became interim principle in the Fall

of 2019.

       66.     In fact, on or around December 12, 2019, at 2:30 p.m., State of Wisconsin

Department of Justice Division of Criminal Investigation (DOJ-DCI) Special Agent Crowe, who

was investigating crimes related to the secret cameras that had been placed by former MMSD

employee David Krutchen on DECA field trips, conducted a search at East High School for the

purpose, in part, of looking for surreptitious recording devices or any other evidence that would

be relevant to David Krutchen’s unlawful acts.

       67.     Defendant Balles “assisted” Special Agent Crowe during the law enforcement

search of school grounds.

       68.     Balles knew of the surreptitious recording devices, and their location in hollowed-

out smoke detectors, in Room 127 and B32 H.



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        69.     Special Agent Crowe did not discover the hidden cameras, and, the hidden cameras

would not be discovered until months later in July of 2020.

        70.     In July of 2020, several MMSD employees were installing a new camera system at

East High School and discovered the hidden cameras in Room 127 and B32 H.

        71.     In July of 2020, the cameras in Room 127 and B32 H were allegedly fully removed.

However, the hollowed-out smoke detectors in which they were concealed were apparently not

removed or replaced.

        72.     On January 8, 2021, an MMSD Employee, Scott Wolfe stumbled upon a hollowed

out-smoke detector underneath a table in Room B32 H. At that time, Scott Wolfe noticed a 2-inch

hole drilled into the ceiling.

        73.     On January 8, 2021, Scott Wolfe informed Madison East High School Principal

Kearney of his discovery.

        74.     On January 8, 2021, Principal Kearney decided police involvement would be

appropriate and called Madison Police to investigate.

        75.     At that time, MMSD launched its own “internal investigation” of the hidden

cameras at East High School.

        76.     MMSD engaged a private law firm, MWH Law Group LLP, and spent at least

$30,000 to conduct an “investigation” into MMSD's use of covert surveillance devices in Rooms

127 and B3H, so that it could hide the results of the investigation from the public.

        77.     On May 6, 2021, Dr. Carlton Jenkins, MMSD Superintendent, emailed East High

School parents, notifying them that MWH’s “investigation” had concluded and summarizing

MWH’s findings.




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                                  V.     VIOLATIONS OF LAW

A.     42 U.S.C. § 1983: Unreasonable Search in Violation of the Fourth Amendment, or
       alternatively Invasion of Privacy in Violation of the Fourteenth Amendment, Against
       All the Individual Defendants

       78.     Paragraphs 1 through 77 are re-alleged and incorporated by reference herein.

       79.     At all times material hereto, the individual Defendants were “persons” for the

purpose of 42 U.S.C. § 1983.

       80.     At all times material hereto, the individual Defendants acted under the color of law.

       81.     At all times material hereto, the individual Defendants acted within the scope of

their respective employment and were actuated by a purpose to serve their employer, MMSD.

       82.     At all times material hereto, Plaintiffs A.H. and Z.H. had a constitutionally

protected right to be free from unreasonable searches and invasions of their protected privacy

interests while under the tutelage of MMSD. This right is an obvious one that was or should have

been known to all Defendants.

       83.     All of the individual Defendants knew the purpose of Room 127 and knew the

purpose for which Room 127 was used.

       84.     After exchanging emails containing maps of East High School, the Defendants

knowingly selected Room 127 as a location to install one of the hidden cameras.

       85.     The Defendants knowingly aimed the hidden camera in Room 127 at a cot that A.H.

and Z.H. used for changing clothes, undergarments, and toileting purposes.

       86.     Plaintiffs A.H. and Z.H. believed that Room 127 was a place where they could

maintain a reasonable expectation of privacy in their unclothed bodies.

       87.     Plaintiffs A.H. and Z.H. did not reasonably expect to be secretly recorded in states

of undress while engaged in toileting functions



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       88.     Plaintiffs A.H. and Z.H. were in Room 127 on many occasions, in states of undress

and while engaged in toileting functions, when the camera in Room 127 was operating and

recording.

       89.     The recordings of A.H. and Z.H. were available to anyone who knew the correct IP

address and could determine the password.

       90.     By placing hidden cameras in Room 127 – a place the Defendants knew the

Plaintiffs and other disabled students used to change clothes and undergarments – the Defendants

violated the Plaintiffs' Fourteenth Amendment right to be free from covert surveillance of their

unclothed bodies in a location where they possessed a reasonable expectation of privacy.

       91.     By placing hidden cameras in Room 127, the Defendants also engaged in an

unreasonable search of Plaintiffs A.H. and Z.H., in violation of the Fourth Amendment.

       92.     The Defendants’ placement of the hidden camera in Room 127 was not justified at

its inception by any compelling necessity, such as concerns about student safety.

       93.     MMSD’s invasion of Plaintiffs A.H. and Z.H.’s privacy was wholly excessive in

scope when compared to the purpose of MMSD’s search: catching a custodian sleeping on the job

after suspicion arose that he may have sleeping during work hours in his car.

       94.     After learning that they had been secretly recorded in states of undress and engaged

in toileting functions, Plaintiffs A.H. and Z.H., experienced profound and severe emotional

distress, pain, anxiety, and suffering after learning that they had been secretly recorded while they

were naked, changed and while they were toileting resulting from Defendants’ unreasonable search

and invasion into their privacy




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         95.    Defendant MMSD is required to indemnify the individual Defendants pursuant to

Wis. Stat. § 895.46 for any judgment entered against them because the Defendants were all acting

within the scope of their employment when they committed these alleged acts and omissions.

B.       42 U.S.C. § 1983: Monell Claim Against MMSD

         96.    Paragraphs 1 through 95 are realleged and incorporated by reference herein.

         97.    At all times material hereto, MMSD was a “person” for the purpose of 42 U.S.C. §

1983.

         98.    MMSD designated Room 127 as a private place where students with disabilities

could change clothes and undergarments.

         99.    MMSD led Plaintiffs to believe that Room 127 was a place where they could

maintain a reasonable expectation of privacy in their unclothed bodies, and where they could

reasonably expect to be free from covert surveillance.

         100.   At all times material hereto, MMSD had in place Board of Education Policies 6702

and 6710, both of which expressly prohibited, albeit in broad and vague language, any person from

using covert cameras without approval from the superintendent, or any camera, concealed or

visible, to capture, record, transmit, or transfer an image or representation of a nude or partially

nude person who is in any locker room, restroom, or designated changing area.

         101.   Board Policy 6702 provided that “cameras will be visible unless otherwise

authorized by the Superintendent.” And, that “[c]ameras shall not be placed in a restroom or locker

room.”

         102.   Board Policy 6710 provided that “No person may use a camera, video recorder, cell

phone, or any other recording device at any time to capture, record, transmit, or transfer an image




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or representation of a nude or partially nude person who is in any locker room, restroom, or other

designated changing area.”

       103.    Upon information and belief, despite these express policies, MMSD acted with

deliberate indifference to the constitutionally protected rights of Plaintiffs A.H. and Z.H. by

maintaining an informal pattern and practice of sanctioning the use of covert surveillance devices

at Madison Public Schools.

       104.    In fact, according to a police report attributing statements to Attorney Tepp, secret

surveillance cameras had been used at East High school in the “past ten years.”

       105.    Indeed prior to the covert surveillance giving rise to this litigation, former MMSD

employee David Krutchen, the DECA field trip coordinator, had used the discretion vested in him

by these broad and vague Board Policy directives, to supervise some of the students he was

chaperoning on extended, overnight, DECA field trips, in part, by installing surreptitious

surveillance cameras hidden in inconspicuous devices, such as hollowed-out smoke detectors, in

students’ hotel rooms, including in their hotel bathrooms, where they would reasonably be

expected to appear in states of undress.

       106.    David Krutchen admitted to employing this practice for approximately seven years,

beginning in or around 2014.

       107.    David Krutchen chaperoned the Madison East High School DECA field trip to

Minneapolis, Minnesota, from December 6, 2019, through December 8, 2019. On the last evening

of this field trip, East High School students discovered one of David Krutchen’s secret cameras

recording devices in their hotel bathrooms. And, after reporting their discovery to David Krutchen

and another MMSD employee chaperoning the field trip, Mr. Fanning, both of whom failed to




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report this discovery to police, several of the students' parents and hotel staff called the local

Minneapolis police, on behalf of the students.

       108.    David Krutchen’s covert surveillance during the December 6-8, 2019, Minneapolis

DECA field trip would ultimately culminate in his arrest and MMSD conducting an internal

investigation into his alleged wrongdoing.

       109.    The investigation, led by Tepp, found no wrongdoing on behalf of the District, and

the only wrongdoing it found on behalf of David Krutchen was that he had violated MMSD’s

Social Media and Digital Communications Guidelines for Staff by using his personal cell phone

to communicate with students and families while on field trips.

       110.    MMSD did not discipline or terminate Mr. Krutchen.

       111.    Moreover, despite the aforementioned policies, Tepp and MMSD’s general counsel

expressly authorized the placement of the hidden cameras in Room 127 and B32 H.

       112.    MMSD had in place an actual pattern and practice of using hidden surveillance

cameras as a method of supervision, in places where students, including Plaintiffs A.H. and Z.H.

had a reasonable expectation of privacy in their unclothed bodies.

       113.    Upon information and belief, despite these express policies, MMSD also acted with

deliberate indifference to the constitutionally protected rights of Plaintiffs A.H. and Z.H. by failing

to train and supervise their respective employees on these express policies, and for failing to train

and supervise their employees to not infringe Plaintiffs’ constitutionally protected rights to be free

from unreasonable searches and invasions of privacy.

       114.    Upon information and belief, MMSD also acted with deliberate indifference to the

constitutionally protected rights of Plaintiffs A.H. and Z.H. by delegating final policymaking




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authority to Tepp, and MMSD legal, to approve the use of covert video surveillance at Madison

Schools in locations where students possessed a reasonable expectation of privacy.

       115.    For example, in an email dated September 6, 2019, with the subject designated as

“BOE Policy on Cameras,” from Anderson to Balles, Tepp, Kapp, and others, Anderson stated:

       Only with prior approval can a camera that does not look like a camera be deployed. We
       have two going up at East next weekend. Their video will be placed on the BS DVR, which
       has limited access to Jo, Joe, Dave, and the electric shop . . . This project was approved by
       Heidi. This process will be used for each time we put these cameras this team know but it
       is the intent staff at the school do not know these cameras are in place.

       116.    MMSD’s deliberate indifference to the constitutionally protected rights of Plaintiffs

A.H. and Z.H. was the moving force behind the violations of their constitutionally protected rights.

       117.    As a direct and proximate cause of the Defendants' actions and omissions, Plaintiffs

A.H., Z.H., Patanne Coffey, and Anna Hauser, experienced profound and severe emotional

distress, pain, anxiety, and suffering.

C.     Violation of Wis. Stat. § 995.50(2)(a)

       118.    Paragraphs 1 through 117 are re-alleged and incorporated by reference herein.

       119.    The Defendants knew the purpose of Room 127.

       120.    The Defendants led the Plaintiffs to believe that Room 127 was a private place

where they could change their clothing free from surveillance by covert recording devices.

       121.    Plaintiffs A.H. and Z.H. possessed a reasonable expectation of privacy in their

unclothed bodies while in Room 127.

       122.    The Defendants knowingly aimed a hidden video camera at the cot in Room 127

used by Plaintiffs A.H. and Z.H. while in states of undress.

       123.    After the Defendants’ installation of the camera on or about September 6, 2019, the

camera in Room 127 was always recording.

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       124.    Plaintiffs A.H. and Z.H. were in Room 127 when the cameras were functional and

recording.

       125.    The images captured by the camera in Room 127 were accessible to anyone who

knew the correct I.P. address and could determine the password, and Kapp did in fact access the

recorded images.

       126.    The Defendants intentionally intruded upon the privacy of Plaintiffs A.H. and Z.H.

in a manner that was highly offensive to a reasonable person, and the intrusion occurred in a

location where the Plaintiffs, and any reasonable individual, would possess a reasonable

expectation of privacy, in violation of Wis. Stat. § 995.50(2)(a).

       127.    As a direct and proximate cause of the Defendants' actions and omissions, Plaintiffs

A.H., Z.H., Patanne Coffey, and Anna Hauser, experienced profound and severe emotional

distress, pain, anxiety, and suffering.

       128.    Defendant MMSD is required to indemnify the individual Defendants pursuant to

Wis. Stat. § 895.46 for any judgment entered against them because the Defendants were all acting

within the scope of their employment when they committed these acts and omissions.

                                          VI.    DAMAGES

1.     Compensatory or Presumed Damages

       129.    By virtue of the unlawful actions alleged above, Plaintiffs A.H. and Z.H. sustained

emotional distress, pain and suffering, public humiliation and embarrassment, and other damages

for which each of them should be compensated in an amount deemed just by the Court.

2.     Punitive Damages

       130.    Because of the acts of the individual defendants herein alleged were carried out

maliciously or with reckless disregard for the Plaintiffs’ fundamental rights, the Plaintiffs seek an



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award of punitive damages against the individual defendants to deter them, and others similarly

situated, from committing similar wrongful acts in the future.

                                    VII.   CONDITIONS PRECEDENT

        131.    All conditions precedent to this action, within the meaning of Rule 9(c), Fed. R.

Civ. Pro., have been performed or have otherwise occurred.

                                      VIII. PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs demand judgment as follows:

    A. Presumed damages in an amount to be determined by a jury;

    B. In the alternative to presumed damages, compensatory damages in amount to fairly

        compensate the plaintiffs for their injuries;

    C. Punitive damages;

    D. All costs, disbursements, and attorney’s fees in this matter; and

    E. Such other and further relief as the court deems just and equitable.

                                           IX.   JURY DEMAND
    Plaintiffs demand a jury trial on all issues.

    Dated this 10th day of March, 2022.

                                                 LAWTON & CATES, S.C.

                                                 By:     Electronically signed by Terrence M. Polich
                                                          Terrence M. Polich
                                                          State Bar No.: 1031375
                                                          Dixon R. Gahnz
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